        Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 1 of 22



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TAFARI A. HAYNES                                                                       PLAINTIFF

VS.                                   2:15-CV-01389-BRW

CLARION UNIVERSITY OF
PENNSYLVANIA, et al.                                                               DEFENDANTS

                                             ORDER

       Pending is Defendants’ Motion for Summary Judgment. (Doc. No. 65). Plaintiff has

responded.1 Defendants filed a reply2 and Plaintiff filed a sur-reply.3 For the reasons set out

below, Defendants’ motion is GRANTED and this case is DISMISSED with prejudice.

Defendants’ Motion in Limine (Doc. No. 69) is DENIED as moot.

I.     BACKGROUND

       Plaintiff, Tafari A. Haynes and K.S. were both full-time students in good academic

standing at Clarion University of Pennsylvania (“Clarion”) in 2013. On October 26, 2013,

Plaintiff attended a party at K.S. house. Plaintiff expressed a romantic interest in K.S. and they

went to a room to talk privately. What happens next is disputed. Plaintiff says they started

kissing, but he never exposed himself and K.S. left the room.

       In the early hours of October 27, 2013, K.S. or her roommate called the Clarion police

and alleged Plaintiff raped her.4 K.S. went to the hospital soon after and hospital staff performed

a rape kit.5 Later that day, Plaintiff was arrested by the Clarion police and eventually the state



       1
        Doc. No. 85.
       2
        Doc. No. 93.
       3
        Doc. No. 96.
       4
        Doc. No. 81, ¶1.
       5
        Doc. No. 68-14, p. 7, 9.
        Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 2 of 22



filed criminal charges. However, those charges were nolle prossed in January 2014 after K.S.

advised the prosecution that she no longer wanted to pursue the charges.

       After K.S.’s allegations and while the state-court charges were pending, Clarion initiated

its own investigation pursuant to its Sexual Harassment Policy and Procedures. The policy

provided students facing discipline with a number of procedural protections, including an

appeals process, though appeals are at the discretion of Clarion policy also provided for appeals,

within three days of receiving the hearing decision, and at the discretion of Karen Whitney, the

President of Clarion.

       Immediately after learning of the rape allegation, but before any type of hearing, Plaintiff

was suspended from Clarion and barred from campus,6 which is permitted under Pennsylvania

law.7 Upon commencing the investigation, Matthew Shaffer, Clarion’s Coordinator of Judicial

Affairs and Residence Life Education, interviewed Plaintiff, but Plaintiff generally exercised his

constitutional right to remain silent. Mr. Shaffer also told Plaintiff about the suspension.

       Plaintiff also received a letter about the suspension, a “trial,” and the “student discipline

process.”8 His adviser told him he should withdraw from classes, but Plaintiff’s mother told him

he could not.9 However, Plaintiff testified that he never contacted any Clarion officials about his

suspension or disciplinary hearing.10




       6
        Doc. No. 31, ¶¶24-26.
       7
        Doc. No. 67, ¶25; 22 Pa. Code § 505.9.
       8
        Doc. No. 68-6, pp. 18-19.
       9
        Doc. No. 82-2, pp. 18-19, 22.
       10
            Doc. No. 68-6, p. 19.

                                                 2
        Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 3 of 22



       On November 18, 2013, Defendants notified Plaintiff, in writing, that he would have a

disciplinary hearing on December 3, 2013.11 Based on advice from his lawyer, neither

Defendant nor his lawyer attended the hearing.

       Following the hearing, which involved previously sworn testimony from K.S. (where she

was cross-examined by Plaintiff’s lawyer) and the presentation of other evidence, Clarion’s

University Conduct Board (“UCB”) decided to expel Plaintiff. Plaintiff had until December 6,

2013 to appeal his expulsion, but he did not appeal until January 26, 2015. The appeal was

dismissed as untimely.

II.    SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate only when there is no genuine issue of material fact, so

that the dispute may be decided on purely legal grounds.12 The Supreme Court has established

guidelines to assist trial courts in determining whether this standard has been met:

       The inquiry performed is the threshold inquiry of determining whether there is the
       need for a trial – whether, in other words, there are any genuine factual issues that
       properly can be resolved only by a finder of fact because they may reasonably be
       resolved in favor of either party.13

       Only disputes over facts that may affect the outcome of the suit under governing law will

properly preclude the entry of summary judgment.14




       11
            Doc. No. 67, ¶56.
       12
            Fed. R. Civ. P. 56.
       13
            Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).
       14
            Id. at 248.

                                                  3
        Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 4 of 22



III.    DISCUSSION

        Plaintiff brought seven claims against the Defendants,15 all based on Plaintiff’s

suspension and expulsion from Clarion following his UCB hearing.16 He alleges Defendants’

violated Title IX, his right to procedural and substantive Due Process, and his right to Equal

Protection.17 He also brings claims for defamation, negligence, negligent infliction of emotional

distress, and for injunctive relief.18

        A.         Title IX

        Title IX of the Education Amendments of 1972 prohibits discrimination on the basis of

sex in exclusion from or participation in any educational program receiving federal financial

assistance.19 Defendants admit they are subject to Title IX.20

        Both parties acknowledge that neither the Supreme Court nor the Third Circuit has

provided a standard for determining intentional discrimination under Title IX based on either the

initiation or outcome of a student disciplinary proceeding.21 They appear to agree, however, that

the Second Circuit identified two categories of actionable claims: (1) erroneous outcome, and (2)




        15
             Doc. No. 31.
        16
             Doc. No. 67, at ¶¶74-75; Doc. No. 80, at ¶¶74-75 .
        17
             Doc. No. 31, pp. 12-22.
        18
             Id. at 22-26.
        19
             20 U.S.C. §1681(a).
        20
             Doc. No. 66, p. 3.
        21
             Doc. No. 66, pp. 3; Doc. No. 85, p. 2.

                                                      4
        Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 5 of 22



selective enforcement.22 Plaintiff argues he has a free-standing Title IX deliberate indifference

claim as well.23

                  1. Erroneous Outcome

       To prove a claim of erroneous outcome, a plaintiff must present evidence that casts some

articulable doubt on the accuracy of the disciplinary outcome.24 A plaintiff must also show a

causal connection between the “flawed outcome” and gender bias.25 Plaintiff has failed to

provide evidence for doubt in the outcome or gender bias.

       Plaintiff can have little complaint about the UCB’s ultimate decision, since he failed to

appear and give his side of the story or submit a written statement. Plaintiff did not ask his

advisor for assistance. He also fails to acknowledge the evidence supporting the outcome.

       Plaintiff argues the “absence [of his DNA from the rape kit] goes to the heart of

satisfying a showing of an erroneous outcome.”26 However, the DNA evidence is consistent

with K.S.’s sworn testimony, which he did not rebut at the hearing.

       Plaintiff also belatedly objects to the testimony of a “counselor” given in the UCB

hearing. However he waived any objection by failing to participate in the proceedings. Even

without the disputed testimony, the UCB had the police report and K.S.’s account of the alleged

rape. While some of her statements regarding times of events changed, the details of the alleged

rape were consistent between multiple statements and sworn testimony. Moreover, if the UCB


       22
         Doc. No. 66, pp. 3-19; Doc. No. 85, pp. 2-12; Yusuf v. Vassar College, 35 F.3d 709 (2d
Cir. 1994).
       23
            Doc. No. 85, pp. 12-13; Doc. No. 31, p. 15.
       24
            Yusuf, 35 F.3d at 715.
       25
            Id.
       26
            Doc. No. 85, p. 9.

                                                  5
        Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 6 of 22



believed K.S.’s statements, then they would expect an absence of Plaintiff’s DNA in the rape kit.

K.S. testified under oath that she pushed Plaintiff off of her before ejaculation.

       The evidence before the UCB, and then before President Whitney, was sufficient to

support the outcome. The UCB simply believed K.S., as did the police and prosecutor.

Although exculpatory evidence exists, this record cannot support a claim for erroneous outcome.

       Plaintiff has also failed to provide a basis for a finding of gender bias. He has not

pointed to any instance where a female student facing criminal prosecution for forcible rape of a

fellow student was treated more favorably.

       Plaintiff attempts to show bias by the difference in treatment between himself and K.S.

His argument that Defendants’ preferable treatment of an alleged rape victim over an alleged

rapist evidences bias is without merit.

                 2. Selective Enforcement

       To support a selective enforcement claim Plaintiff must have some evidence that the

decision to initiate the proceeding or the resulting punishment was affected by his gender,

regardless of his guilt or innocence.27 Plaintiff claims “a gender bias can be inferred in [his] case

when one considers that [K.S.] was treated much more favorably throughout the administrative

process by Clarion officials.”28 This allegation misses the point.

       A male plaintiff must have evidence “that a female was in circumstances sufficiently

similar to his own and was treated more favorably” to prevail on a selective enforcement claim.29




       27
            Yusuf, 35 F.3d at 715-716.
       28
            Doc. No. 85, p. 11.
       29
         Doe v. The Trustees of the University of Pennsylvania, 270 F .Supp. 3d 799, 824
(E.D.Pa. 2017).

                                                  6
        Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 7 of 22



So the question here is whether Defendants would have initiated disciplinary action and expelled

a female student criminally charged with the forcible rape of a fellow student. Plaintiff has not

identified a female, or anyone, who was charged with forcible rape, who was treated more

favorably by Clarion.

       Plaintiff notes that between 2009 and 2013, the UCB heard thirteen separate complaints

of sexual harassment or sexual assault filed by women against twelve male students.30 The male

students were found responsible in nine of the thirteen complaints, which is just under 70% of

the time.31 Plaintiff alleges this is proof Clarion disciplinary proceedings “invariably” end

adversely to males. Clearly, 70% is not invariably, and Plaintiff’s reference to no contact orders

between the parties does not change this calculus.32 Plaintiff failed to provide evidence of a

single instance showing a student charged with committing a violent felony against another

student being treated differently than Clarion treated Plaintiff based on gender.

                  3. Deliberate Indifference

       Defendants dispute the existence of a stand-alone Title IX deliberate indifference cause

of action. I do not find support for the existence of such a claim in either the text of Title IX or

the case law in this Circuit. Even if this cause of action exists, the record here supports summary

judgment for Defendants.

       A stand-alone deliberate indifference claim requires a showing that an institution official

had actual notice of misconduct and failed to correct it.33 The alleged “misconduct” is Ms.



       30
            Doc. No. 81, pp. 18-19.
       31
            Doc. No. 85, p. 10.
       32
            Clarion instituted no contact orders against students accused of sexual assault.
       33
            Id. at 12.

                                                   7
        Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 8 of 22



Whitney’s refusal to reconsider the results of the disciplinary hearing after being presented with

DNA evidence.34

       Again, the evidence before the UCB and Ms. Whitney was sufficient to support their

decision. The absence of Plaintiff’s DNA in the Rape Kit is consistent with K.S.’s sworn

statements, that the forcible rape ended before ejaculation. Public policy would also appear to

strongly discourage Ms. Whitney from considering part of the DNA results, whether or not K.S.

had consensual sex with anyone other than Plaintiff the night of the alleged rape.35

       B.         Due Process

       Plaintiff claims Defendants violated his procedural and substantive Due Process rights

when conducting the disciplinary hearing and expelling him.36 Defendants argue that Plaintiff

waived these claims by failing to engage in the disciplinary proceedings and skipping the

hearing. I agree. Plaintiff never contacted any Clarion official for any purpose from the date of

his suspension until over a year after the hearing. Regardless of waiver, I find no Due Process

violations.




       34
            Id. at 12-13.
       35
         “Evidence of specific instances of the alleged victim’s past sexual conduct . . . shall not
be admissible in prosecutions under this chapter except evidence of the alleged victim’s past
sexual conduct with the defendant where consent of the alleged victim is at issue and such
evidence is otherwise admissible pursuant to the rules of evidence.” 18 Pa.C.S.A. § 3104(a).
       36
            Doc. No. 31, pp. 16-19.

                                                 8
        Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 9 of 22



                 1. Procedural Due Process

       The Due Process Clause protects students during disciplinary hearings at public

institutions.37 At a minimum, a student is entitled to notice and an opportunity to be heard.38 A

court should also consider the Mathews factors when evaluating a Due Process claim: “(1) the

private interests at stake, (2) the governmental interests at stake, and (3) the fairness and

reliability of the existing procedures and the probable value, if any, of additional procedural

safeguards.”39

       Plaintiff received notice of his interim suspension and the reasons for it; notice of his

hearing and the hearing procedures; and notice of possible sanctions. The hearing procedures

gave Plaintiff the opportunity to be heard. Contrary to Plaintiff’s argument, he has no right to

publicly defend himself without any potential repercussions.

       Clarion’s hearing procedures allowed counsel to attend the hearing with Plaintiff, at

Plaintiff’s expense, but counsel could not participate.40 I find no constitutional right to active




       37
         Simms v. Pennsylvania State University-Altoona, No. 3:17-cv-00201-KRG, 2018 WL
1413098, at *4 (W.D. Pa. Mar. 20, 2018)(citing Phat Van Le v. Univ. of Med. & Dentistry of
N.J., 379 Fed. Appx. 171, 174 (3d Cir. 2010) (unpublished)).
       38
            Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985).
       39
        Palmer v. Merluzzi, 868 F.2d 90, 95 (3d Cir. 1989) (citing Mathews v. Eldridge, 424
U.S. 319 (1976)); see also Simms, 2018 WL 1413098, at *4 (applying Mathews factors); Johnson
v. Temple Univ., No. 12–515, 2013 WL 5298484, at *7-8 (E.D. Pa. Sept. 19, 2013)(applying
Mathews factors); Osei v. Temple University of Commonwealth System of Higher Educ.,
10–2042, 2011 WL 4549609, at *8 (E.D. Pa. Sept. 30, 2011)(applying Mathews factors); Furey
v. Temple Univ., 884 F. Supp. 2d 223, 247 (E.D. Pa. 2012)(applying Mathews factors).
       40
         This satisfied any right Plaintiff had to counsel at the disciplinary hearing. See Simms,
2018 WL 1413098, at *5-6; but see Coulter v. East Stroudsburg University, No. 3:10–CV–0877,
2010 WL 1816632, at *3 (M.D. Pa. May 5, 2010) (granting preliminary injunction and holding
student facing simultaneous criminal sanctions and academic discipline has right to active
participation of counsel during disciplinary hearing).

                                                  9
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 10 of 22



participation of counsel in student disciplinary hearings, even when the student is facing

concurrent criminal charges.41

       The hearing procedures did not allow cross-examination of an alleged rape victim.

Plaintiff provided no support for a constitutional right under the Due Process or Confrontation

Clause to cross-examination of alleged sexual assault victims in university disciplinary hearings.

       Plaintiff ultimately did not attend on advice of counsel. It is undisputed that he received

notice and an opportunity to be heard. Accordingly, Plaintiff received all procedural process due

under the Constitution.

       Considering the Mathews factors, I find Plaintiff had a private interest in continuing his

education. Expulsion was the most serious sanction available to the UCB. The failing grades

and disciplinary mark on Plaintiff’s transcript could have negative impacts in the future.

       Plaintiff alleged the “negative marks on [his] record inhibited or destroyed his ability to

enroll in a similarly ranked and esteemed college or university” and that he suffered

“humiliation, mental anguish, severe emotional distress, physical harm, financial loss, and loss

of educational, social and occupational opportunities” as a result.42 The record shows, however,

that after a year of community college, Plaintiff enrolled in Temple University.43 His

employment while in college went from McDonald’s, while attending Clarion, to Barnes &




       41
         Simms, 2018 WL 1413098, at *6 (citing Gabrilowitz v. Newman, 582 F.2d 100, 106 (1st
Cir. 1978) and Osteen v. Henley, 13 F.3d 221, 225 (7th Cir. 1993) for support); but see Coulter,
2010 WL 1816632, at *3.
       42
            Doc. No. 31, ¶¶137-138.
       43
            Doc. No. 68-6, pp. 21-22.

                                                10
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 11 of 22



Noble while attending Temple.44 I cannot assume future, speculative harm when the record

evidences none.

        Plaintiff was one of many students at Clarion with the same private interest. Clarion’s

interest in campus safety substantially outweighs each student’s interest in continuing their

education at a specific institution. Defendants had information that a student alleged another

student forcible raped her. The allegations were sufficient to arrest Plaintiff. Plaintiff essentially

argues Clarion was required to let him attend classes and travel freely on campus until the

criminal proceedings concluded at some indeterminable time in the future. Instead, Defendants

took reasonable action in immediately suspending Plaintiff and promptly scheduling a hearing so

he could present his side of the story.

        By the time of the UCB hearing, Plaintiff had already been through a preliminary

criminal hearing where K.S. testified under oath, subject to cross-examination. There was

sufficient evidence to sustain the criminal charges against Plaintiff. Clarion’s interests in

preventing a student arrested and criminally charged with forcible rape of another student from

attending classes, and even being on campus, greatly outweighed the individual, private interest

at stake.

        Plaintiff failed to test the fairness and reliability of the existing procedures by skipping

the UCB hearing and failing to submit any statements or evidence on his behalf. Defendants

ultimately provided more procedural protections than required under either federal or state law.

        I find little, if any, value in the potential, additional procedural safeguards listed by

Plaintiff’s proposed expert, Gregory S. Blimling, Ph.D.45 Dr. Blimling’s opinions are based on



        44
             Id. at 10.
        45
             Doc. No. 70-1.

                                                  11
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 12 of 22



unsupported conclusions and have little basis in law or fact. For instance, I disagree with the

conclusion that a student charged with forcible rape of another student poses no physical threat

to others. Defendants were under no “obligation” to allow an accused rapist to stay in school and

on campus.46 Dr. Blimling also faults Defendants for both delaying and not delaying the

hearing.47

       Dr. Blimling believes Defendants should have offered the option for Plaintiff to

voluntarily withdraw.48 It is undisputed that Plaintiff’s advisor made two attempts to withdraw

Plaintiff but his mother convinced him to “stay the course.”

       Plaintiff and Dr. Blimling fault Defendants for not offering other options he never

requested or pursued. Plaintiff never contacted any official at Clarion at any time from his arrest

until his appeal a year after expulsion to ask for any accommodation. Moreover, Mr. Tripp’s

suspension letter specifically advised Plaintiff that he could contact Mr. Shaffer if he wanted to

“request to be on campus for a particular business or academic reason.”49

       Dr. Blimling also notes student disciplinary hearings are not designed to adjudicate

violent felonies.50 That is true, but Plaintiff was facing criminal charges in the state court. At

the time of the UCB hearing, Plaintiff already had a preliminary criminal hearing where K.S.

testified, under oath, subject to cross-examination. There was sufficient evidence to proceed




       46
            Doc. No. 70-1, p. 5.
       47
            Id. at 5-6, 8-9.
       48
            Id. at 8.
       49
            Doc. No. 67, ¶¶ 43-46.
       50
            Doc. No. 70-1, p. 14.

                                                 12
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 13 of 22



with the prosecution for alleged violent felonies. The argument that Clarion could not suspend

Plaintiff and the UCB could not expel him based on this evidence is without merit.

                   2. Substantive Due Process

        Whether or not Plaintiff has any substantive Due Process rights here is questionable.51

Because I find an interest subject to procedural Due Process protections, I find protections

against the arbitrary taking of that interest.

        To survive summary judgment, Plaintiff must have evidence Defendants acted “through

an arbitrary and deliberate abuse of authority.”52 Plaintiff claims this occurred when Defendants

“conducted a biased investigation,” expelled Plaintiff with inadequate evidence of guilt, and

refused to reconsider their decision.53

        There is no evidence that Mr. Shaffer’s investigation involved sex, gender, or racial

bias.54 A reasonable juror could find, however, that Mr. Shaffer’s investigation was not strictly

impartial.

        It appears clear from the record that Mr. Shaffer believed K.S. and presented the case to

the UCB in a light reflecting that belief. Plaintiff, however, does not have a right to a strictly



        51
          See Simms, 2018 WL 1413098, at *9 (“interest in pursuing college education differs
greatly from the rights which federal courts have found to be fundamental in the Constitutional
sense”); Valentine v. Lock Haven Univ. of Pennsylvania of the State Sys. of Higher Educ., No.
4:13–cv–00253, 2014 WL 3508257, at *6 (M.D. Pa. July 14, 2014) (payment of tuition and
graduate education were not fundamental rights entitled to substantive due process protection.);
Mauriello v. University of Medicine & Dentistry, 781 F.2d 46, 52 (3d Cir. 1986) (expressing
“doubt about the existence” of a substantive due process right in a student’s continued
enrollment in a university graduate program).
        52
        Kadakia v. Rutgers, 633 Fed. Appx. 83, 86-87 (3d Cir. 2015)(citing Nicholas v. Pa.
State Univ., 227 F.3d 133, 139 (3d Cir. 2000)).
        53
             Doc. No. 31, ¶92.a-c.
        54
             Id. at ¶92.a.

                                                 13
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 14 of 22



impartial presentation of evidence. Instead, Due Process requires only an impartial decision-

maker or UCB. Plaintiff does not even allege the UCB was biased.

       A decision-maker must generally rely on some evidence, otherwise the decision is

arbitrary.55 Plaintiff argues the evidence of his guilt was inadequate. As noted by Defendants,

courts all over the country have found evidence similar to this record sufficient to uphold rape

convictions.56 The constitutional threshold for sufficient evidence cannot be higher for expulsion

from a university than for life in prison. Considering the evidence, including the DNA evidence

and Plaintiff’s deposition testimony, the decision to expel Plaintiff and place that decision on his

transcript was well-supported by the record.

       Plaintiff had no right requiring Defendants to “reconsider their decision” to expel him.

Consideration of an appeal is discretionary.57 Even if Plaintiff had such a right, Ms. Whitney

acted reasonably in denying reconsideration. Plaintiff’s appeal was untimely and the grounds for

appeal failed, as a matter of law, to establish innocence.

       C.         Equal Protection

       Plaintiff appears to allege Equal Protections violations based on race, sex, and by being

an accused rapist.58 His only plausible Equal Protection claim is based on race.59




       55
            Id. at ¶ 92.b.
       56
            Doc. No. 66, pp. 6-9.
       57
            22 Pa. Code § 505.8.
       58
            Doc. No. 31, ¶¶99-111.
       59
         Than v. Radio Free Asia, 496 F. Supp. 2d 38, 46 (D.D.C. 2007) (male Title VII
claimant was a member of a historically favored group, meaning did not belong to a protected
class).

                                                 14
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 15 of 22



       For support, Plaintiff offers Clarion’s UCB statistics and an email from Mr. Shaffer. This

evidence falls far short of supporting this claim.



       Between 2009 and 2013, seven of the twelve students Clarion referred to the UCB for

sexual misconduct were African-American. Yet African-Americans made up a small portion of

the Clarion student body. It is undisputed, however, that the UCB only heard student complaints

alleging sexual misconduct. It did not independently determine whether to initiate proceedings

like a prosecutor would. If students made allegations of sexual misconduct against black

students when they would not make the same allegation against a white student, that may be

evidence of bias or prejudice within the student body. Plaintiff has not provided evidence,

required here, showing that any Defendant treated similarly situated students differently based

on race as opposed to the accusations in each individual case. Plaintiff has failed to show any

instances where a student alleged a white student forcibly raped them and the white student was

treated more favorably than Plaintiff.

       The limited number of Clarion sexual assault disciplinary hearings show that 57% of

African-American students who faced the UCB were expelled while only 33% of “similarly

situated” Caucasian students were expelled.60 These unremarkable statistics do not make up for

the absence of evidence specifically supporting Plaintiff’s case.

       Three out of four UCB exonerations were given to African-American students. Though

African-American students made up only 5.9% of the school population, African-American

students received 75% of exonerations. So by Plaintiff’s flawed calculation, African-American

students were 57 times more likely to be found not responsible if faced with sexual misconduct



       60
            Doc. No. 85, p. 32.

                                                 15
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 16 of 22



hearings than “similarly situated” white students. These napkin top statistics can make a point

that does not exist. That is why courts must consider the difference in protection for similarly

situated individuals or groups.

       Despite his arguments to the contrary, Plaintiff has not identified any other student

“similarly situated” who was treated differently. There is no evidence any other student was

charged with forcible rape and not expelled.

       Plaintiff claims an email from Mr. Shaffer comparing Plaintiff’s situation to that of O.J.

Simpson evidences discrimination.61 This email was written after expulsion, in reference to

Plaintiff’s appeal. The email refers to the difference in criminal and noncriminal proceedings, or

how O.J. Simpson was found not guilty of murder, but still civilly liable.

       Plaintiff all but admitted in his deposition that the O.J. Simpson comment was not

discriminatory.62 This comment by Mr. Shaffer is insufficient evidence Ms. Whitney

discriminated against Plaintiff based on his race when declining to reconsider his appeal. At

most, the email reflects one of Plaintiff’s arguments, that Mr. “Shaffer’s not-so-subtle message

to [Plaintiff] was that [he] might have wiggled free of the criminal justice system, but that

Clarion would hold him accountable.”63

       D.        State Law Claims

       Plaintiff brings state-law claims for defamation, negligence, and negligent infliction of

emotional distress. Defendants are entitled to Sovereign Immunity on these claims.




       61
            Doc. No. 31, ¶¶54-58, 107.
       62
            Doc. No. 68-6, p. 24.
       63
            Doc. No. 85, p. 33.

                                                 16
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 17 of 22



       Pennsylvania has not waived immunity regarding tort or negligence based claims related

to student discipline.64 The conduct behind Plaintiff’s claims all fall within the scope of

Defendants’ employment.65 Regardless of immunity, Plaintiff has failed to support these claims.

                  1. Defamation

       At a minimum, Pennsylvania law requires Plaintiff to prove a defamatory communication

and resulting harm.66 A defendant is not liable for an alleged defamatory communication if the

communication is “substantially true.”67 The alleged defamatory communication here was

substantially true. Clarion’s UCB found Plaintiff more likely than not raped another student. As

a result, Clarion expelled Plaintiff and he failed classes.

       Plaintiff did not allege defamation per se so his claim requires proof of a specific

monetary or out-of-pocket loss as a result of the allege defamatory communication.68 Plaintiff

alleged the “negative marks on [his] record inhibited or destroyed his ability to enroll in a

similarly ranked and esteemed college or university” and that he suffered “humiliation, mental



       64
          See Wei Ly v. Varner, No. 2:13-cv-01102-CRE, 2015 WL 5098736, at *5 (W.D. Pa.
Aug. 31, 2015) (listing the areas Pennsylvania has waived immunity involving the negligence of
State officials).
       65
          See Aina v. Howard-Vital, No. 13–2702, 2013 WL 5567798, at *6 (E.D. Pa. Oct. 9,
2013) (allegedly defamatory statements at university disciplinary meeting were within the scope
of state actor’s employment) (citing in Obotetukudo v. Clarion University, 13–0639, 2014 WL
3870003, *12 (W.D.Pa., Aug. 6, 2014)).
       66
          Kelley v. Pittman, 150 A.3d 59, 67 (Pa. Super. 2016) (defamation claims require proof
of: (1) The defamatory character of the communication; (2) its publication by the defendant; (3)
its application to the plaintiff; (4) the understanding by the recipient of its defamatory meaning;
(5) the understanding by the recipient of it as intended to be applied to the plaintiff; (6)
special harm resulting to the plaintiff from its publication; and (7) abuse of a conditionally
privileged occasion).
       67
            Graboff v. Colleran Firm, 744 F.3d 128, 136 (3d Cir. 2014).
       68
            Synygy, Inc. v. ZS Associates, Inc., 110 F. Supp. 3d 602, 617 (E.D. Pa. 2015).

                                                  17
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 18 of 22



anguish, severe emotional distress, physical harm, financial loss, and loss of educational, social

and occupational opportunities” as a result.69 Plaintiff has not established harm from any of the

Defendants’ communications. Instead, the record shows that after a year of community college,

Plaintiff enrolled in Temple University.70 His employment while in college went from

McDonald’s while attending Clarion to Barnes & Noble while attending Temple.71 Without both

a defamatory communication and resulting harm, Plaintiff’s defamation claim fails.

                  2. Negligence

       To prove negligence, Plaintiff must establish a duty owed him by Defendants, breach of

that duty, actual harm, and a causal connection between the breach of duty and harm.72 Future,

speculative harm is insufficient.

       Plaintiff failed to show either breach of a duty owed him or actual harm. If Defendants

owed Plaintiff any duty, it was to accurately reflect his record. Concealing or removing

Plaintiff’s disciplinary action, expulsion, and failing grades would not accurately reflect the fact

that he was expelled for a disciplinary violation and failed classes as a result. In fact, Plaintiff

testified he has not suffered the specific harm alleged in his complaint.73




       69
            Doc. No. 31, ¶¶137-138.
       70
            Doc. No. 68-6, pp. 21-22.
       71
            Id. at 10.
       72
            Kelley, 150 A.3d at 67.
       73
            Doc. No. 68-6, pp. 10, 21-22.

                                                  18
          Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 19 of 22



                    3. Negligent Infliction of Emotional Distress

          Plaintiff’s claim for negligent infliction of emotional distress alleges a violation of a

contractual or fiduciary duty.74 Plaintiffs who allege negligent infliction of emotional distress

must generally suffer immediate and substantial physical harm.75 Plaintiff’s deposition

testimony shows he did not suffer the requisite physical harm. But this claim fails for a another

reason.

          All of the conduct Plaintiff complains of was intentional, not negligent. Defendants

intentionally suspended Plaintiff; intentionally brought student discipline charges against him;

intentionally expelled Plaintiff; intentionally recorded his expulsion and failing grades on his

transcript; and finally, they intentionally provide the transcript evidencing such when requested.

Accordingly, Plaintiff’s negligent infliction of emotion distress claim fails as a matter of law.76

          E.        Injunctive Relief

          Prospective injunctive relief against a state actor is only appropriate when a party is

facing ongoing violations of federal law that cannot be compensated monetarily.77 The lack of

an ongoing federal violation is fatal to this claim.




          74
               Doc. No. 31, ¶¶133-138.
          75
        Doe v. Philadelphia Community Health Alternatives AIDS Task Force, 745 A.2d 25,
27-28 (Pa. Super. 2000), aff’d, 767 A.2d 548 (Pa. 2001).
          76
               DiSalvio v. Lower Merion High School Dist., 158 F. Supp. 2d 553, 561 (E.D. Pa. 2001).
          77
        Christ the King Manor, Inc. v. Secretary U.S. Dept. of Health and Human Services, 730
F.3d 291 (3d Cir. 2013).

                                                    19
         Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 20 of 22



         F.        Qualified Immunity

         Qualified immunity protects state actors from liability when their conduct does not

violate clearly established statutory or constitutional rights.78 To overcome qualified immunity,

a plaintiff must show the contours of the right were sufficiently clear that any reasonable state

actor would understand their conduct violated that right.79 Absent Supreme Court precedent

clearly establishing the right, a plaintiff must identify a “robust consensus of cases of persuasive

authority in the Court[s] of Appeals.”80

         Defendants argue they are entitled to qualified immunity on Plaintiff’s Title IX and Due

Process claims.81 I agree with Plaintiff that the statutory right under Title IX to be free from

discrimination in an educational setting based on sex is clearly established.82 Plaintiff, however,

does not identify cases outlining the extensive Due Process protections he claims.83

         No court has clearly established a constitutional right to cross-examine an alleged rape

victim during a university disciplinary hearing.84 No court has clearly established a

constitutional right to an attorney at all stages of university disciplinary proceedings.85 As an

adult, Plaintiff had no constitutional right to parental notification or representation.



         78
              Pearson v. Callahan, 555 U.S. 223, 231 (2009).
         79
              Mammaro v. N.J. Div. of Child Prot. & Permanency, 814 F.3d 164, 168-169 (3d Cir.
2016).
         80
              Id. at 169 (quoting Taylor v. Barkes, 135 S.Ct. 2042, 2044 (2015)).
         81
              Doc. No. 66, pp. 18-19, 26.
         82
              Doc. No. 85, pp. 13-14.
         83
              Doc. No. 85, p. 26; Doc. No. 96.
         84
              Doc. No. 31, ¶91.b.
         85
              Doc. No. 31, ¶91.c.

                                                    20
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 21 of 22



       Due Process may require a meaningful opportunity to appeal a disciplinary finding and

sanction. But no court has clearly established a constitutional right to the appeal rights Plaintiff

claims.86 Courts have routinely upheld appeal deadlines. The future existence of exculpatory

evidence does not change this. There is also no constitutional requirement that Defendants

“reconsider their decision” at indeterminate times after the hearing.87

       No court has clearly established Plaintiff’s asserted constitutional right to “participate [in

a university disciplinary hearing], without fear that [the] statements might be used against [the

accused] in [an] ongoing criminal investigation.88 Not even criminal defendants, facing life in

prison, loss of child custody, or loss of employment, have a constitutional right to make public

statements without fear that the statements could be used against them in the future.

       Defendants did not violate any of Plaintiff’s procedural due process rights. Even if I

found constitutional violations, they would be entitled to qualified immunity on the procedural

claims. Defendants are also entitled to immunity on Plaintiff’s substantive due process claims.

       Absent prohibited discrimination, there is no clearly established constitutional right to a

strictly impartial student disciplinary investigation. Certainly no court has found a constitutional

right to skip a disciplinary hearing, give no evidence on your own behalf, wait over a year to

appeal when the appeal deadline is three days, and then have your disciplinary decision

rescinded as though it never happened.




       86
            Doc. No. 31, ¶91.d.
       87
            Doc. No. 31, ¶92.c.
       88
            Doc. No. 31, ¶91.a.

                                                 21
       Case 2:15-cv-01389-BRW Document 104 Filed 06/27/18 Page 22 of 22



                                        CONCLUSION

       Though I find no constitutional, statutory, or State law violations here, I recognize the

impact this case has had on all involved. Courts in the future may recognize or expand federal

protections to cover Plaintiff’s claims in this case. The State of Pennsylvania could also provide

a mechanism for amending university transcripts in situations presented here.

       Based on the findings of fact and conclusions of law above, Defendants’ motion for

summary judgment (Doc. No. 65) is GRANTED and this case is DISMISSED with prejudice

Defendants’ Motion in Limine (Doc. No. 69) is DENIED as moot.

       IT IS SO ORDERED this 27th day of June, 2018.



                                                         /s/ Billy Roy Wilson
                                                          UNITED STATES DISTRICT JUDGE




                                                22
